
Mr. Justice Field
delivered the opinion of the court:
In January, 1861, Bussell, hjajors &amp; Waddell, partners in business, being at the time wholly insolvent, executed and delivered to the claimants two deeds of assignment, conveying all their property in trust for the benefit of their creditors. In November following, the claimants sold to the United States a portion of the property thus conveyed, consisting of wagons and oxen, for a sum exceeding $112,000. Of this sum only a part was paid; leaving a balance amounting to $71,491, of which payment was refused.
It appears from the findings of the Court of Claims that at the date of the assignments, Bussell, Majors &amp; Waddell were indebted to the United States in the sum of $870,000, or there- ■ abouts, for certain Indian trust-bonds belonging to the United States, which they had illegally procured and sold, and the proceeds of which they had applied to their own use. By reason of this indebtedness the payment to the claimants of the above balance was refused; and to recover that balance the present suit was brought.
The Court of Claims held that the United States were entitled to priority of payment out of the proceeds of the property assigned by Bussell, Majors &amp; Waddell, under the trust deeds, and to set off so much of the indebtedness of that firm to them as would be equal to the amount claimed and proved; and accordingly dismissed the petition. Hence the present appeal.
Among the cases in which the United States are entitled, by *95Act March 3,1797, to priority in the payment, of debts due to them over debts to other creditors, is the case where the debtor, not having sufficient property to pay his debts, makes a voluntary assignment of the property he has for their payment. Of the creditors of Russell, Majors &amp; Waddell, the United States are therefore entitled to be preferred in the payment of their demand out of the proceeds of the property in the hands of the claimants, the property not being subject at the date of the assignments to any specific charge or lien. This preference the claimants cannot disregard in the distribution of the proceeds, without making themselves personally liable for the amount payable on the demand of the United States. — The United States v. Clark, (1 Paine, 629.) If they could recover the amount claimed in the present suit, they would be required immediately to pay it over to the United States on the debt of the assignors, after deducting the expenses of its collection. This is, therefore, a case in which the demand of the United States would be allowed as a set-off against the claim of the assignors, independent of the statute of March 3,1863, amending the act establishing the Court of Claims. The demand being for the proceeds of certain Indian trust-bonds unlawfully converted by Russell, Majors &amp; Waddell to their own use, is. one arising upon an implied contract, or may be so treated by the waiver of the alleged fraud in the conversion of the bonds. Although the amount of the proceeds has not been determined by judicial proceedings, it can-be stated with certainty, and the interest can be added by computation. ' The demand is, therefore, the proper subject of set-off in a suit for the recovery by the claimants of the amount due upon a sale to the United States of property held by them under the deeds of assignment.
If the objection urged by counsel of the claimants to the allowance of the set-off, that the demand against Russell, Majors &amp; Waddell is unliquidated, would have been entitled to consideration, supposing such to be the character of the demand independent of the statute mentioned, it is not entitled to any since the passage of that statute. The third section of the statute is broad enough to authorize the Court of Claims,.in suits against the United States, to hear and determine demands of the Government of every kind against the claimant, or those whom the claimant represents, whether liquidated or unliqui-dated, and to set off against the claim in suit the amount found *96in favor of tbe United States upon such hearing and determination.
There is nothing in the fact that the quartermaster who acted as agent of the United States in the purchase of the wagons and oxen from the claimants gave to them certificates of the correctness of thóir bills which constitutes in any respect a waiver on the part of the United States of their right of priority of payment, or even looks in that direction.
The decree is affirmed.
